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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X

UNITED STATES OF AMERICA                            :          14 Cr. 68 (KBF)

                 - against -                        :          NOTICE OF MOTION
                                                               IN SUPPORT OF
ROSS ULBRICHT,                                       :         DEFENDANT
                                                               ROSS ULBRICHT’S
                                    Defendant.        :        PRE-TRIAL MOTIONS
------------------------------------------------------X

          PLEASE TAKE NOTICE, that upon the annexed Declaration of Joshua L. Dratel, Esq.,

and all prior papers and proceedings herein, the defendant, ROSS ULBRICHT, will move before

the Honorable Katherine B. Forrest, United States District Judge for the Southern District of

New York, at the United States Courthouse located at 500 Pearl Street, New York, at a time and

date to be set by the Court, or as soon thereafter as counsel may be heard, for the following

relief:

          (a)    dismissal of Counts One, Two and Three, because the conduct charged therein

                 does not state an offense under the enumerated statutes, and because even if the

                 conduct did state an offense, those statutes would be unconstitutionally vague as

                 applied in this case;

          (b)    dismissal of Count Three because the critical statutory term “access without

                 authorization” in 18 U.S.C. §1030(a)(2)(C) is undefined, and therefore

                 unconstitutionally vague as applied to Mr. Ulbricht in this case;

          (c)    dismissal of Count Four because it fails to allege sufficiently the essential element

                 of a “financial transaction[]” that by definition must involve a “monetary

                 instrument[];” and

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for any such other and further relief as to the Court seems just and proper.

Dated: New York, New York
       28 March 2013

                                               /S/ Joshua L. Dratel
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                                              JOSHUA L. DRATEL, P.C.
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                                              Attorneys for Defendant Ross Ulbricht

To:    CLERK OF THE COURT

       UNITED STATES ATTORNEY
       SOUTHERN DISTRICT OF NEW YORK

       ALL DEFENSE COUNSEL




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